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UN¥TED STATES D!STR!CT COURT
DISTRICT OF CONNECT¥CUT

 

 

L|SA BEZEO )
P|air;t¥ff ) CfViL ACT|ON

3

)

v- )

)

NAT|ONAL RECOVERY SERV¥CES, LLC )

Defendants )
) MA¥ 25, 2010

COMPLA|NT
I. iNTRODUCTiON

1. This is a suit brought by a consumer Who has been harassed by the
defendant coiiection agencyl This action is for violations of the Fair Debt Coi!ection
Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq. and for vio!ation of the Connecticut
Unfair Trade Practices /-\ct.

Ii. PARTIES

2. The piaintiff, Lisa Bezio, is a natural person residing in Southington,
Connecticut and is a consumer as defined by the Fair Debt Co|iection Practices Act
(“FDCPA”) 15 U.S.C. §1692a(3).

3. The defendant, Nationai Recovery Services, LLC (“NRS”), is a |<ansas
corporation and is not licensed by the Connecticut Department of Banking as a

Consumer Coi!ection Agency and is a debt coiiector as defined by i-`DCPA § 1692a(6).

 

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lil. JURlSDlCTtON

4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28
U.S.C. §§ 1331, and 1337, and Fed. R. Civ. P. 18(a).

5. This Court has jurisdiction over NRS because it engages in debt coilection
within Connecticut.

6. Venue in this Court is proper, because the Piaintiff is a resident and the acts
comptained of occurred in this state.

iV. FACTUAL AM§AT|ONS

7. ln April, 2010 NRS began contacting Plaintiff regarding two alleged debts,
neither of Which Piaintiff owed or was liable for.

8. tn an attempt to collect the alieged debts, NRS telephoned Plaintii'f,
sometimes up to twenty times a day, and they also sent her emails.

9. On May 7, 2010 NRS sent Ptaintifl’ an email Which stated an alieged debt and
threatened to report that afleged debt as a negative item to the credit bureaus if she 7
taiied tc pay it.

10. On i\/iay 7, 2010 NRS sent Plaintiff another email which stated an additional
alleged debt and threatened to report that aileged debt as a negative item to the credit
bureaus if Plaintiff failed to pay it.

11.Piaintiff subsequently contacted i\ERS in response to these emaiis and spoke
with an NRS representative named Brittany, and during that conversation, Brittany

threatened to report the aforementioned alleged debts as negative items to the credit

bureaus.

 

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12. NRS was not iicensed as a Consurner Ccilection Agency with the Connecticut
Departrnent ot Banking at the time it engaged in the aforementioned coiiecti`on activities
V. CLAiMS FOR RELIEF

COUNT ONE
Vioiations of Fair Debt Coilection Practices Act, 15 U.S.C. §§ 1692 et seg.

13.Plaintiff incorporates Paragraphs 1 - 12.

14.NRS violated the FDCPA by engaging in illegai unlicensed co|iection activities
in Connecticut, by attempting to coilect from Plaintiff alleged debts that she did not owe,
and by threatening to report these alleged debts to the credit bureaus

15. For NRS’s vioiation of the Fair Debt Coliection Practices Act as described
above, the Piaintiff is entitied to recover her actual damages statutory damages of

$1,000.00, and reasonabie attorney’s fees, pursuant to 15 U,S.C. § 1692k.

COUNT TWO
CUTPA

16. Plaintiff incorporates Paragraphs 1-12.

17. NRS has engaged in unfair and deceptive trade practices in violation of the
Connecticut UnfairTrade Practices Act, Conn. Gen. Stat. § 42-110a et seq. (“CUTP ”).

18. Plaintiff nas suffered an ascertainable ioss, because she has been subjected

to illegal collection activities

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WHEREFORE, the Piaintiff seeks recovery of actual damages pursuant to 15
U.S.C. § 1692i<; statutory damages pursuant to 15 U.S.C. § 16921<; attorney’s fees and
costs pursuant to 15 U.S.C. § 1692k, and actual damages, punitive damages and
attorney’s fees pursuant to Conn. Gen. Stat. § 42~110g; and such other relief as this

Ccurt deems appropriate

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Bycm/ers)ei%'§d sarno ctcziss
atthewW Graeber Fed Bar No. ct27545

dbiinn@consumeriawgroup.com

Consumer i_avv Group, i_LC

35 Cold Spring Rd., Suite 512

Rocky Hiii, C“i” 06067

rei. (sec) 571-0403
Fax. (sso) 571-7457

 

